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lN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOUR.I
SOUTHEASTERN DIVISION

HELENA CI-IEMICAL COMPANY,

Plaintift`,
v. Case No. 1:17-cv-0191-ACL
l\/[ARTY VANCIL d/b/a VANC[L FARMS,
Defendarlt. JURY TRIAL DEMANDED

Counterclaim Plaintift`,
v.
HELENA CHEMICAL COMPANY,

STEVE HAWKINS, AND

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MARTY VANCIL d/b/a VANCIL FARMS, )
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TRIPP GILE,S, )
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Counterclaim Defendants.

ANSWER, AFFI RMATIVE DEFENSES AND COUNTERCLAIMS OF DEFENDANT
MARTY VANCIL d/b/a VANCIL FARMS
Defendant Marty Vancil d/b/a Vancil F arms (“Vancil"’), by and through counsel, states

for his Answer and Afiirmative Det`enses to Plaintift`s Complaint as follows:

 

PARTIES
l. Defendant admits the allegations set forth in paragraph l ot` the Complaint.
2. Defendant admits the allegations Set forth in paragraph 2 of the Complaint.
JURISDICTION AND VENUE
3. Det`endant denies the allegations set forth in paragraph 3 of the Complaint.

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4. Defendant admits the amount in controversy exceeds seventy-five thousand
dollars (375,000), exclusive of interest and costs. Defendant denies the remaining allegations set
forth in paragraph 4 of the Complaint.

5. Defendant admits that he resides within the judicial district and division but
denies all remaining allegations set forth in paragraph 5 of the Complaint.

FACTS COMMON TO ALL COUNTS

6. Defendant admits Helena offers the products and services listed in the second
sentence ofparagraph 6 of the Complaint. Defendant lacks sufficient information or knowledge
to admit or deny the first sentence, particularly with regard to the allegation that Helena is one of
the foremost specialty formulators, and therefore denies the same.

7. Defendant denies the allegations set forth in paragraph 7 of the Complaint and
affirnnatively states that he farms approximately 3,000 acres in Dunklin County, Missouri and
purchased all of his agricultural products through Helena prior to the events that led to the filing
ofthis lawsuit.

8. Defendant admits his signature appears on Exhibit A. Defendant denies all
remaining allegations set forth in paragraph 8 of the Cornplaint.

9. Defendant admits that he was allowed to order products and/or services from
Helena on credit. Defendant denies all remaining allegations set forth in paragraph 9 of the
Complaint.

10. Defendant denies the allegations set forth in paragraph 10 of the Complaint.

1 l. Defendant denies the allegations set forth in paragraph l l of the Complaint.

12. Defendant denies the allegations set forth in paragraph 12 of the Complaint.

13. Defendant denies the allegations set forth in paragraph 13 of the Complaint.

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14. Defendant lacks sufficient information or knowledge to admit or deny the
allegations set forth in paragraph 14 of the Complaint and therefore denies the same.

15. Defendant denies the allegations set forth in paragraph 15 of the Complaint.

16. Defendant admits his signature appears on Exhibit C. Defendant denies all
remaining allegations set forth in paragraph 16 of the Complaint.

17. Defendant admits that Exhibit C states, "Extended Terms Due Date: 3/15/17,
Extended Terms Credit Limit: $7()(],000.00."' Defendant denies all remaining allegations set
forth in paragraph 17 of the Complaint.

`18. Defendant admits that Exhibit C provides for the accrual of interest at a rate of
18% per annum if the balance is not paid in full by the Extended Terms Due Date of 3/1 5/17.
Defendant denies all remaining allegations set forth in paragraph 18 ofthe Complaint.

19. Defendant admits the allegations set forth in paragraph 19 of the Complaint.

20. Defendant denies the allegations set forth in paragraph 20 of the Complaint.

21. Defendant denies the allegations set forth in paragraph 21 of the Complaint.

22. Defendant denies the allegations set forth in paragraph 22 of the Complaint.

COUNT l_§REACH OF CONTRACT

23. ln response to paragraph 23 of the Complaint, Defendant re-alleges and
incorporates by reference his responses to paragraphs 1-22 above.

24. Defendant denies the allegations set forth in paragraph 24 of the Complaint.

25. Defendant admits that Helena provided various defective, contaminated goods to
him on credit. Defendant denies all remaining allegations set forth in paragraph 25 of the
Complaint.

26. Defendant denies the allegations set forth in paragraph 26 of the Complaint.

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27. Defendant denies the allegations set forth in paragraph 27 of the Complaint.
COUNT II_ACCOUNT STATED

28. ln response to paragraph 28 of the Complaint, Defendant re-alleges and
incorporates by reference his responses to paragraphs 1-27 above.

29. Defendant admits the allegations set forth in paragraph 29 of the Complaint.

30. Defendant admits the allegations set forth in paragraph 30 of the Complaint.

31. Defendant denies the allegations set forth in paragraph 31 of the Complaint.

32. Defendant denies the allegations set forth in paragraph 32 of the Complaint.

COUNT III_-OUANTUM MERUIT

33. In response to paragraph 33 of the Complaint, Defendant re-alleges and
incorporates by reference his responses to paragraphs 1-32 above.

34. Defendant admits the allegations set forth in paragraph 34 of the Complaint and
affirmatively states it was with Counterclaim Defendant Steve Hawkins` recommendation and
approval

35. Defendant denies the allegations set forth in paragraph 35 of the Complaint.

36. Defendant denies the allegations set forth in paragraph 36 of the Complaint.

COUNT IV-_UNJUST ENRICHMENT

37. In response to paragraph 37 of the Complaint, Defendant re-alleges and
incorporates by reference his responses to paragraphs 1-36 above_

38. Defendant denies the allegations set forth in paragraph 38 of the Complaint.

39. Defendant denies the allegations set forth in paragraph 39 of the Complaint.

40. Defendant denies the allegations set forth in paragraph 40 of the Complaint.

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41 . Defendant denies each and every allegation, title, count, claim1 prayer for relief,
"WHEREFORE” paragraph. and request for damages_, fees, costs and interest contained in the
Complaint that is not expressly admitted hereinabove

AFFIRMATIVE DEFENSES

1. Plaintif`f`s Complaint should be dismissed for Want of jurisdiction over the subject
matter following Defendant Vancil`s filing of his Counterclaims set forth below in that there is
neither a federal question pursuant to 28 U.S.C. §1331 nor complete diversity of citizenship
among the parties to this action pursuant to 28 U.S.C. §1332(a)(1).

2. Plaintiff's Complaint fails to state a claim upon which relief can be granted and
the Complaint should, therefore, be dismissedl

3. Plaintiff failed to mitigate its damages, if any.

4. Plaintiff is barred from recovery due to its own material breach of contract and
failure to perform conditions precedent to Defendant’s performance in that Plaintiff failed to
provide a safe product for application to Defendant`s cotton crop as required by the agreement
between the parties, causing Defendant to lose 1,010 acres of cotton with resulting damages to
Defendant in excess of $ 1 ,452,000.00.

5. Plaintiff is barred from recovery as a result of its own “unclean hands"’ in that,
contrary to the parties’ agreement the Helena`s Vision product that it delivered to Defendant
was defective and contaminated with 2, 4-D, which killed Defendant’s cotton crop. resulting in
damages to Defendant.

6. Plaintiff is barred from recovery in that Plaintiff was the "`tirst to breach” by
failing to provide Defendant with an effective_, uncontaminated Vision product as Defendant

requested; the Vision product Plaintiff provided to Defendant was defective and contaminated

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with 2, 4-D; Defendant did not order any product labeled as containing or possibly 601/training 2,
4-D because 2, 4-D is fatal to cotton.

7. Plaintiff is barred from recovery due to failure of consideration in that Plaintiff
provided Defendant a Vision product that was defective and contaminated With 2, 4-[), which
Plaintiff knew rendered the product wholly incompatible with Defendant’s intended use.

8. Plaintiffis barred from recovery due to its own fraud in that Plaintiff induced
Defendant to enter into a contract described in the Complaint for the purchase of Plaintiffs
Vision product by stating to Defendant that such product was safe for application to Defendant’s
cotton crop; at the time Plaintiff made such statement, Plaintiff knew the statement was false; the
statement was, in fact, false; Plaintiff intended that Defendant would rely on the statement;
Defendant did._ in fact. rely on Plaintiffs statement the statement was material to the transaction
between Plaintiff and Defendant; and, in reliance on Plaintiff" s false statement Defendant
applied Plaintift"s defective and contaminated product to his cotton crop and suffered damages
resulting from the loss of1,010 acres of cotton.

9. Plaintiffis barred from recovery in that enforcement of the contract alleged by
Plaintiff is against public policy where Plaintiff provided a defective Vision product,
contaminated with 2, 4-D, and caused crop loss and damages to Defendant.

10. Despite the fact that Defendant received products from Plaintiff, the Vision
products Plaintiff provided were defective and contaminated with 2, 4-D, which killed 1,010
acres of Defendant`s cotton_ Therefore, Plaintiffis barred from recovery in that there is no
injustice in Defendant retaining the defective and contaminated products that killed his cotton.

11. Plaintiffis barred from recovery in that Defendant did not retain any benefit from

the defective and contaminated Vision products that Plaintiff provided to him.

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12. Plaintiff is barred from recovery in that Defendant was not enriched by the receipt
of defective Vision products, contaminated with 2, 4-D. which killed Defendant’s cotton.

13. Plaintiff is barred from recovery in that the defective, 2, 4-D contaminated Vision
products it provided to Defendant have no reasonable value.

14. Plaintiff would be unjustly enriched if Defendant paid the amount demanded in
Plaintiff s Complaint where the Vision products Plaintiff provided to Defendant were defective,
contaminated with 2, 4-D, and killed 1,010 acres of Defendant`s cotton.

15. Plaintiff is barred from recovery in that it violated its covenant of good faith and
fair dealing with Defendant

16. Plaintiff is barred from recovery in that any money which a court or jury may
determine Defendant owes to Plaintiff shall be a setoff against the sums Plaintiff owes to
Defendant for damages set forth in his Counterclaim below.

17. Plaintiffis barred from recovery in that, in balancing the equities, Defendant does
not owe money to Plaintiff; rather, Plaintiff owes money to Defendant

18. Defendant reserves his right to reserve the right to amend this Answer to
assert any affirmative defense that may become available during the course of discovery,
including all such defenses noted in Rule 8.

WHEREFORE, having fully answered Plaintiff`s Complaint. Defendant Marty Vancil
d/b/a Vancil Farms respectfully requests that the Complaint be dismissed in its entirety, with
prejudice, or, in the alternative that judgment be entered in his favor, for his costs and attorneys'

fees, and for such other and further relief to which he may show himself entitled

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COUNTERCLAIM

COMES NOW Defendant/Counterclaim Plaintiff Marty Vancil d/b/a Vancil Farms, by
and through counsel, pursuant to Rule 13(a) of the Federal Rules of Civil Procedure, and without
waiving any defense or assertion concerning jurisdiction or venue, asserts this Counterclaim
against Plaintiff/Counterclairn Defendant Helena Chemical Company, Counterclaim Defendant
Steve Hawkins and Counterclaim Defendant Tripp Giles:

PARTIES

1. Defendant/Counterclaim Plaintiff Marty Vancil d/b/a Vancil Farms (“Vancil")
resides in Campbell, Dunklin County, Missouri.

2. Plaintifti/Counterclaim Defendant Helena Chernical Company (“Helena”) is a
Delaware corporation with its principal place of business in Collierville, TN. Helena owns and
operates a branch location at 34085 State Highway 25, Clarkton, Dunklin County, Missouri
63837. Helena is present and transacts substantial business in Missouri and has a registered
agent in Missouri. Further_, Helena itself or through its agents transacted business in Dunklin
County, Missouri, entered into contracts in Dunklin County, Missouri, committed tortious acts in
Dunklin County, Missouri.

3. Counterclaim Defendant Steve Hawkins ("Hawkins”) is a Missouri resident and
may be served with process at his residence at 1207 Charlotte Drive, Malden, Dunklin County,
Missouri 63863-1307 or at his place of employment Helena Chemical Company, 34085 State
Highway 25, Clarkton, Dunklin County, Missouri 63837. At all relevant times herein, Hawkins
worked for Helena as its agent, servant, and/or employee.

4. Counterclairn Defendant Tripp Giles (“Giles”) is a Missouri resident and may be

served with process at his residence at 1501 Ganton Drive, Dexter, Missouri 63 841-1 806 or at

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his place of employment Helena Chemical Company, 34085 State Highway 25, Clarkton,
Dunklin County, Missouri 63 837. At all relevant times herein, Giles worked for Helena as its
agent, servant, and/or employee

JURISDICTION AND VENUE

5. Although the amount in controversy exceeds seventy-five thousand dollars
($75,000.00), upon the filing of this Counterclaim, jurisdiction and venue are not proper in this
Court as there is neither a federal question present, as required by 28 U.S.C. § 1331, nor is there
complete diversity of citizenship between the parties to this action, as required by 28 U.S.C. §
1332(a)(1).

6. Therefore, this case should be remanded to the Circuit Court of Dunklin County,
Missouri where jurisdiction and venue are proper in that each of the parties either resides in
Dunklin County, Missouri, maintains a business in Dunklin County, Missouri, or can be found in
Dunklin County, Missouri, and the acts giving rise to the claims alleged in the Compliant and,
now, in this Counterclaim arose in Dunklin County, Missouri.

FACTS COMMON TO ALL COUNTS

7. Vancil farms approximately 3,000 acres in Dunklin County, Missouri.

8. Vancil has done business at Helena`s branch location in Clarkton, Dunklin
County, Missouri for at least the past 15 years.

9. For several of the past 15 years, Hawkins worked at Helena`s branch location in
Clarkton, Dunklin County, Missouri, in a number of positions, including as the division manager,
branch manager, salesman and certified crop consultant/adviser.

10. Helena utilizes crop consultants, many of whom have obtained the credentials of

Certifred Crop Adviser.

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1 1. As Helena advertised in an article titled, "Setting Higher Standards for Helena
Consultants"' posted on its website on April 27, 2016, “`By gaining the CCA credentiaL Helena’s
consultants have demonstrated they have the commitment, education and expertise to make
sound agronomic recommendations for oer growersl The CCA certification program sets high
standards for knowledge, skill and conduct within the field of agronomy - it’s a standard on
which both growers and employers depend."

12. Over the years, Vancil developed a loyal business relationship with Hawkins and
Helena.

13. For as long as Vancil did business with Hawkins at Helena, Hawkins held his
credentials as a Certified Crop Adviser, and, over the years, Vancil came to rely on Hawkins`

expertise as a certified crop consultant/adviser for Helena.

14. Vancil trusted and reasonably relied upon Hawkins` recommendations without
question
15. At all relevant times herein, Giles and Hawkins worked for Helena as its agent,

servant, and/or employee Specifically in 2016, Giles was the manager for Helena’s branch
location in Clarkton, Dunklin County, Missouri, as well as a division manager, and Hawkins
continued to work there as a salesman and as a certified crop consultant/adviser. As manager,
Giles was responsible for the business conducted at Helena`s branch location in Clarkton_.
Dunklin County, Missouri, and was responsible and liable for all acts, omissions, conduct, and
representations taken by Helena’s agents, servants_, and/or employees at the Clarkton, Dunklin

County, Missouri location in furtherance of Helena’s business operations with its customers

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16. ln crop year 2016, prior to planting, Vancil consulted with Hawkins at Helena`s
branch location in Clarkton, Dunklin County, Missouri, regarding his plans for that year,
including seed and chemical selection and budgets.

17. At that time, Hawkins advised Vancil to use Helena`s Vision product on the 1,300
acres of cotton Vancil planned to plant. Hawkins was acting within the scope and course of his
employment for Helena when he recommended, advised and instructed Vancil to purchase and

use Helena’s Vision on Vancil’s 2016 cotton crop.

18. Vision is a dicamba herbicide used to control broadleaf weeds.

19. Vision is approved and marketed for preplant use on cotton.

20. In marketing Vision, Helena maintains that Vision has minimal volatility.
21. Presumably as a result of Vision’s alleged low volatility, Helena charges its

customers a higher price for Vision than for other forms of dicamba.

22. Based on Hawkins" recommendation as Helena`s salesman and Certified Crop
Adviser to Vancil, Vancil ordered Helena`s Vision herbicide, EPA registration number 5905-
576, from Helena’s Clarkton, Dunklin County, Missouri location, for preplant and pre-emergent

use on 1,300 acres of cotton.

23. Vancil planted his 1,300 acres of cotton over a three week period, from May 7 to
May 25, 2016.
24. Relying upon Hawkins` expertise as Helena`s salesman and Certified Crop

Adviser, as well as Hawkins’ knowledge o‘f`Vancil"s farming operations, Vancil applied
Helena`s Vision to his 1,300 acres of cotton shortly after planting but before emergence at a rate
of 1 pint per acre as Hawkins instructed

25. From the point of emergence, Vancil`s cotton exhibited signs of`2, 4-D damage

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26. 2, 4-D is an herbicide that controls broadleaf weeds. 2, 4-D has been used as a
pesticide since the 1940s and is wholly incompatible with cotton.

27. Vancil consulted with Hawkins on a daily basis regarding the signs of 2, 4-D
damage exhibited by Vancil`s cotton crop.

28. lnitially, Hawkins told Vancil that the cotton would grow out of the problems it
was exhibiting

29. Later, Hawkins recommended Vancil apply foliar fertilize.

30. Vancil followed Hawkins’ recommendations to no avail, as the cotton showed no
signs of improvement and Vancil continued to lose plant populations

31. Hawkins and Giles drove out to view Vancil’s struggling cotton.

32. Hawkins and Giles agreed that the damage to Vancil’s cotton looked like 2, 4-D
damage and that the cotton was not going to survive.

33. Once it was clear to Vancil that his cotton had sustained 2, 4-D damage, Vancil
promptly mitigated his losses by disking the damaged cotton during the last week of .1 une 2016
and planting soybeans during the first week of July 2016.

34. All ofVancil’s cotton fields were damaged by the application of Helena`s Vision.

35. Vancil lost 1_,010 of the 1,300 acres of cotton that he planted in 2016.

36. Vancil was able to salvage 290 acres of cotton7 though the yields were
suppressed

37. Thereafter, Vancil had Helena"s Vision tested by two different laboratories,
Mississippi State Chemical Laboratory and Waypoint Analytical, and both labs found 2, 4-D
present in Helena`s Vision. Copies of the lab reports are attached hereto as Exhibits 1 and 2.

38. As the chemical testing of Helena"s Vision demonstrated, Helena`s product was

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defective in that it contained 2, 4-D.

39. Neither Helena, Hawkins nor Giles provided any warning to Vancil that Helena`s
Vision either contained or might contain 2, 4-D.

40. Applying Helena’s Vision, contaminated with 2, 4-D, created an
unreasonably dangerous condition to Vancil"s cotton crop and directly resulted in \/'ancil`s loss
of all but 290 of the 1,300 acres of cotton that he planted in crop year 2016.

41. As a result of applying Helena’s Vision, which was defective and contaminated
with 2, 4-D, Vancil suffered damages in excess of 8 l ,452,000.00.

42. Vancil spoke to several Helena representatives, including Hawkins and Giles, as
well as Louis Rodrigue, Vice President, Southern Business Unit, and Joe Webber, South Texas
Division l\/lanager, regarding the damages he suffered as a result of applying Helena`s Vision to
his cotton. Helena told Vancil, "don`t worry about it_you’re not going to go out of business.”

COUNT I_PRODUCTS LIABILITY
Strict Liabilitv_l)efective Product

43. Vancil incorporates by reference the other paragraphs of his Counterclaim as
though fully set forth herein.

44. Counterclaim Defendants Helena, Hawkins and Giles sold and/or provided
Helena’s Vision to Vancil in the course of the Counterclaim Defendants" business

45. Helena’s Vision was in a defective condition in that it was contaminated with 2.
4-D.

46. l-lelena’s Vision was unreasonably dangerous when put to a reasonably
anticipated use by Vancil.

47. Vancil used Helena`s Vision on his 1,300 acres of cotton in a manner reasonably

anticipated and instructed by Counterclaim Defendants.

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48. Vancil was damaged as a direct result of the defective condition that existed when
Helena sold its Vision to Vancil.

49. Because of the intentional and tortious nature ofCounterclaim Defendants’ acts
and omissions in addition to his actual damages, Vancil is entitled to recover punitive damages
and reasonable attorney’s fees.

WHEREFORE, Defendant/Counterclaim Plaintiff l\/larty Vancil dfb/a Vancil Farms
respectfully requests judgment in his favor and against Counterclaim Defendants Helena,
Hawkins and Giles, jointly and severally, for such damages as are fair and reasonable to
compensate Vancil for his actual damages, punitive damages reasonably attorney`s fees and all
costs of court and for such other and further relief to which he may show himself entitled

COUNT II_PRODUCTS LlABILITY
Strict Liabilitv_Failure to Warn

50. Vancil incorporates by reference the other paragraphs of his Counterclaims as
though fully set forth herein.

51. Counterclaim Defendants Helena, Hawkins and Giles sold and/or provided
Helena’s Vision to Vancil in the course ofthe Counterclaim Defendants` business

52. Helena’s Vision was unreasonably dangerous when put to a reasonably
anticipated used by Vancil1 who had no knowledge that it was defective and contaminated with
2, 4-D prior to applying the same to his 1,300 acres of cotton as recommended and instructed by
Counterclaim Defendant Hawkins

53. None of the Counterclaim Defendants gave Vancil any warning that Helena’s
Vision was either contaminated with 2, 4~1) or that it possibly could be contaminated with 2, 4-

D.

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54. Vancil used Helena`s Vision in a manner reasonably anticipated by following
l-lawkins` recommendations and instructions for use as Helena"s Salesman and Certified Crop
Adviser to Vancil.

55. Counterclaim Defendants knew or by using ordinary care should have known of
the dangerous condition present in l-lelena`s Vision.

56. Counterclaim Defendants failed to wam Vancil of` the danger.

57. Vancil suffered damages to his cotton crop as a direct result of the Counterclaim
Defendants’ failure to warn.

58. Because of the intentional and tortious nature ofCounterclaim Defendants’ acts
and omissions, in addition to his actual damages, Vanci] is entitled to recover punitive damages
and reasonable attorney’s fees

WHEREFORE, Defendant/Counterclaim Plaintiff Marty Vancil d/b/a Vancil Fanns
respectfully requests judgment in his favor and against Counterclaim Defendants Helena,
Hawkins and Giles, jointly and severally, for such damages as are fair and reasonable to
compensate Vancil for his actual damages punitive damages reasonably attorney"s fees and all
costs of court and for such other and further relief to which he may show himself entitled.

COUNT III_PRODUCTS LlABlLlTY
Negligence_Defective Product

59. Vancil incorporates by reference the other paragraphs of his Counterclairns as

though fully set forth herein.

60. Helena manufactured or designed Vision.
61 . Helena`s Vision had a specific latent defect or hazard in that it was contaminated
with 2, 4~D.

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62. Helena failed to use ordinary care to manufacture or design Vision to be
reasonably safe and failed to warn Vancil of the risk of harm to his cotton crop from the hidden
defect or hazard

63. Vancil suffered damages to his cotton crop as a direct result of`Helena`s negligent
manufacture, design or failure to warn.

64. Because ofthe intentional and tortious nature ofCounterclaim Defendants` acts
and omissions in addition to his actual damages Vancil is entitled to recover punitive damages
and reasonable attorney’s fees

WHEREFORE, Defendant/Counterclaim Plaintiff Marty Vancil d/b/a Vancil Farms
respectfully requests judgment in his favor and against Counterclaim Defendants Helena,
Hawkins and Giles, jointly and severally, for such damages as are fair and reasonable to
compensate Vancil for his actual damages punitive damages reasonably attorney’s fees and all
costs of court and for such other and further relief to which he may show himself entitled

COUNT IV_PR{)DUCTS LIABlLlTY
Negligence_Failure to Warn

65. Vancil incorporates by reference the other paragraphs of his Counterclaims as
though fully set forth herein.

66. Counterclaim Defendants sold Helena"s Vision to Vancil in the course of the
Counterclaim Defendants’ business

67. Helena’s Vision was defective in that it was contaminated with 2q 4-D, and, as a
result, it was unreasonably hazardous when put to the reasonably expected use of application to

Vancil’s cotton crop as recommended by the Counterclaim Defendants.

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68. Counterclaim Defendants had no reason to believe that Vancil would realize
Helena`s Vision was contaminated with 2, 4-D prior to applying the same to his 1,3 00 acres of
cotton.

69. Counterclaim Defendants knew or, by using ordinary care, should have known
Helena`s Vision was contaminated with 2_, 4-D.

70. Counterclaim Defendants failed to warn Vancil of the danger.

71. As a result of the Counterclaim Defendants" failure to warn Vancil ofthe danger
Helena"s Vision posed to Vancil"s cotton crop, Vancil suffered direct and proximate damages

72. Because ofthe intentional and tortious nature of Counterclaim Defendants` acts
and omissions in addition to his actual damages Vancil is entitled to recover punitive damages
and reasonable attorney`s fees.

WHEREFORE, Defendant/Counterclaim Plaintiff l\/larty Vancil d/b/a Vancil Farms
respectfully requests judgment in his favor and against Counterclaim Defendants l-lelena,
Hawkins and Giles, jointly and severally, for such damages as are fair and reasonable to
compensate Vancil for his actual damages punitive damages reasonably attorney’s fees and all
costs of court and for such other and further relief to which he may show himself entitled

COUNT V_ FRAUDULENT MISREPRESENTATION

73. Vancil incorporates by reference the other paragraphs of his Counterclaims as
though fully set forth herein.

74. At the time Vancil agreed to order Vision from Helena based on
Hawkins` recommendations as Helena`s Salesman and Certified Crop Adviser to Vancil.

Hawkins represented to Plaintiffthat Vision was safe to apply to Vancil`s 1,300 acres ofcotton.

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75. Fuither, Hawkins provided Vancil with instructions and rates of application for
Vision to Vancil`s cotton.

76. Hawkins’ representation to Vancil that Helena’s Vision was safe to apply to
Vancil`s 1,300 acres ofcotton was false.

77. When Hawkins represented to Vancil that Helena"s Vision was safe, Hawkins
either knew at the time he made that statement to Vancil that the statement was false or Hawkins
did not know whether it was true or false yet made the statement anyway.

78. ln fact. Helena’s Vision was not safe for application to Vancil’s cotton in that
Helena’s Vision was defective and contaminated with 2_, 4-D.

79. Hawkins” representation to Vancil was material to Vancil’s decision to order
Helena`s Vision for application to his 2016 cotton crop.

80. Vancil relied on Hawkins` recommendations and representation set forth in
paragraph 74 above and used ordinary care in so relying, in that Hawkins was Helena`s Salesman
and Certified Crop Adviser for Vancil and was knowledgeable of and experienced with Helena’s
Vision.

81. As a direct result of the representations set forth in paragraph 74 above, Vancil
has been damaged in excess of 8 1,452,000.00.

82. Counterclaim Defendants’ action in falsely representing the condition.
effectiveness and appropriateness of Vision for Vancil’s use on 1.300 acres of cotton was
intentional, willful and outrageous due to the Counterclaim Defendants` greed, evil motive and
reckless indifference to Vancil. Therefore, an award ofpunitive damages is warranted by the

Counterclaim Defendants` conduct

PAoE 18 or 20

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WHEREFORE7 Defendant/Counterclaim Plaintiff l\/larty Vancil d/b/a Vancil Farms
respectfully requests judgment in his favor and against Counterclaim Defendants Helena,
Hawkins and Giles, jointly and severally, for such damages as are fair and reasonable to
compensate Vancil for his actual damages punitive damages reasonably attorney`s fees and all
costs of court and for such other and further relief to which he may show himself entitled

COUNT VI-BR_EACH OF CONTRACT

83. Vancil incorporates by reference the other paragraphs of his Counterclaims as
though fully set forth herein.

84. ln 2016, Vancil and Helena entered into a contract for the sale and purchase of
Vision for use on Vancil`s 1,300 acres ofcotton.

85. Pursuant to the Sales Agreement, the unpaid invoices, and the Extended Terms
Agreement attached to the Complaint, Helena agreed to provide Vision to Vancil on credit and
Vancil was to pay for the Vision in accordance with the terms set forth in those documents

86. instead ofproviding Vancil with an herbicide that was safe for him to apply to his
1,3 00 acres of cotton, Helena provided Vancil with a defective and contaminated version of
Vision, which killed all but 290 acres of Vancil"s 2016 cotton crop.

87. Because Helena was the first to breach the parties" contract and did so with
unclean hands, Vancil suffered damages in excess of $1,452,000.00.

WHEREFORE. Defendant/Counterclaim Plaintiff Marty Vancil d/b/a Vancil Farms
respectfully requests judgment in his favor and against Counterclaim Defendant Helena for such
damages as are fair and reasonable in an amount in excess of$ 1 ,452,000.00, for his costs of suit

and for such other and further relief to which he may show himself entitled

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Respectfully submitted

/s/Shannon Wright Morgan
SI-[ANNON WRIGHT MORGAN
Federal Bar NO. 509171\/[0

PELTS, l\/lCl\/[ULLAN, EDGlNGTON & MORGAN, LLP
217 College Avenue

P.O. Box 68

Kennett, MO 63 857

(573) 888-4644

Fax: (573) 888-4999

shannonmorgan@pmelaw.net

ATTORNEYS FOR DEFENDANT MARTY VANClL
d/b/a VANCIL FARMS
CERTIF[CATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the foregoing was served upon
all parties of record via the Court`s electronic filing system on January 2, 2018.

/s/Shailnon Wright Morgan
SHANNON WRIGHT MORGAN

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